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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

YVONNE BROWN,                         )
                                      )
      Plaintiff,                      )
                                      )       CIVIL ACTION
v.                                    )
                                      )       FILE No. _____________________
CARROLLTON                            )
FREESTANDING, LLC,                    )
                                      )
      Defendant.                      )

                                  COMPLAINT

      COMES NOW, YVONNE BROWN, by and through the undersigned

counsel, and files this, her Complaint against Defendant CARROLLTON

FREESTANDING, LLC pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

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      2.     Venue is proper in the federal District Court for the Northern District

of Georgia, Atlanta Division, as Plaintiff resides in Douglas County, Georgia, and

Defendant maintains its Registered Agent for service of process in Fulton County,

Georgia.

                                      PARTIES

      3.     Plaintiff YVONNE BROWN (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Douglasville,

Georgia (Douglas County).

      4.     Plaintiff suffers from Epilepsy, Multiple Sclerosis (“MS”) and has

suffered multiple injuries resulting in irreversible damage to her legs, and is

disabled as defined by the ADA.

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

      6.     Plaintiff uses a wheelchair for mobility purposes.

      7.     Defendant CARROLLTON FREESTANDING, LLC (hereinafter

“Defendant”) is a Georgia limited liability company that transacts business in the

state of Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered


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agent for service, to wit: Alex Lang, 201 Allen Road, N.E., Atlanta, Georgia 30328

(Fulton County).

                           FACTUAL ALLEGATIONS

      9.     On multiple occasions, including, but not limited to July 3, 2021,

Plaintiff was a customer at “Hacienda San Antonio,” a business located at 1030

Bankhead Highway, Carrollton, Georgia 30117.

      10.    Defendant is the owner (or co-owner) of the real property and

improvements upon and within which “Hacienda San Antonio” operates, and that

are the subject of this action. (The structures and improvements situated upon said

real property shall be referenced herein as the “Facility,” and said real property

shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately 24 (twenty-four) miles from the Facility

and Property.

      12.    Plaintiff regularly travels to Carroll County, Georgia, and in the near

vicinity of the Facility and Property.

      13.    Plaintiff’s access to the business located at 1030 Bankhead Highway,

Carrollton, Georgia 30117 (Carroll County Property Appraiser’s parcel number

C04 0220058), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein


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were denied and/or limited because of her disabilities, and she will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      14.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      15.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      16.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to her access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      17.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      18.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

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      19.   The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      20.   The Facility is a public accommodation and service establishment.

      21.   The Property is a public accommodation and service establishment.

      22.   Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      23.   Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      24.   Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      25.   The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      26.   The Property must be, but is not, in compliance with the ADA and

ADAAG.


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      27.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of her

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of her

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      29.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,


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services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)    EXTERIOR ELEMENTS:

      (i)    The Property lacks a van accessible disabled parking space, in

             violation of section 208.2.4 of the 2010 ADAAG standards.

      (ii)   The two (2) accessible parking spaces on the Property and their

             centrally adjacent access aisle each have a slope and cross-slope

             in excess of 1:48 (one to forty-eight), and have significant


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        amounts      of   broken   pavement   within    their   respective

        boundaries, in violation of section 502.4 of the 2010 ADAAG

        standards.

(iii)   The accessible route that leads from the accessible parking

        spaces to the entrance of the Facility requires travel within the

        vehicular way at a blind curve, and has a slope in excess of 1:20

        (one to twenty), in violation of section 403.3 of the 2010

        ADAAG standards.

(iv)    The door to the accessible entrance of the Facility lacks

        minimum permissible level maneuvering clearance, in violation

        of section 404.2.4 of the 2010 ADAAG standards.

(b)     INTERIOR ELEMENTS:

(i)     The interior of the Facility has a bar lacking any portion of

        which that has a maximum height of 34” (thirty-four inches)

        from the finished floor, in violation of section 902.3 of the 2010

        ADAAG standards.

(ii)    The interior of the Facility lacks restrooms signage that

        complies with sections 216.8 and 703 of the 2010 ADAAG

        standards.


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      (iii)   The doors to the restrooms in the Facility requires an opening

              force in excess of 5 lbs. (five pounds), in violation of section

              404.2.9 of the 2010 ADAAG standards.

      (iv)    There is inadequate clear turning space in the accessible toilet

              stalls in the restrooms in the Facility, in violation of section

              603.2.1 of the 2010 ADAAG standards.

      (v)     There are ambulatory configuration toilet compartments in the

              restrooms in the Facility; however, there are no toilet

              compartments in said restrooms that are compliant with section

              604.8.1 of the 2010 ADAAG standards, in violation of section

              213.3.1 of the 2010 ADAAG standards.

      (vi)    The paper towel dispensers in the restrooms in the Facility are

              located outside the prescribed vertical reach ranges set forth in

              section 308.2.1 of the 2010 ADAAG standards.

      32.     Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to exit and re-enter her vehicle while on the

Property, more difficult and dangerous for Plaintiff to travel upon the exterior

accessible routes on the Property, more difficult for Plaintiff to enter the Facility,

and more difficult for Plaintiff to utilize the restroom while inside the Facility.


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      33.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      34.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      35.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      36.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      38.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.


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      39.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from


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      continuing its discriminatory practices;

(c)   That the Court issue an Order requiring Defendant to (i) remove the

      physical barriers to access and (ii) alter the subject Facility and

      Property to make them readily accessible to, and useable by,

      individuals with disabilities to the extent required by the ADA;

(d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

      litigation expenses and costs; and

(e)   That the Court grant such further relief as deemed just and equitable

      in light of the circumstances.

                                Dated: August 13, 2021.

                                Respectfully submitted,

                                /s/Craig J. Ehrlich
                                Craig J. Ehrlich
                                Georgia Bar No. 242240
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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